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                                   3                                     UNITED STATES DISTRICT COURT

                                   4                                    NORTHERN DISTRICT OF CALIFORNIA

                                   5                                           SAN JOSE DIVISION

                                   6

                                   7        TESLA, INC.,                                    Case No. 5:24-cv-03615-EJD
                                                           Plaintiff,                       ORDER DENYING EMERGENCY
                                   8
                                                                                            MOTION FOR A TEMPORARY
                                                  v.                                        RESTRAINING ORDER
                                   9

                                  10        MATTHEWS INTERNATIONAL
                                            CORPORATION,                                    Re: Dkt. No. 57
                                  11                       Defendant.
                                  12
Northern District of California




                                                Before the Court is Plaintiff Tesla, Inc.’s (“Tesla”) emergency motion for a temporary
 United States District Court




                                  13
                                       restraining order (“TRO”) enjoining Defendant Matthews International Corporation (“Matthews”)
                                  14
                                       from selling1 dry battery electrode (“DBE”) technology2 containing Tesla’s alleged trade secret
                                  15
                                                 Technology. Mot., ECF No. 57. Matthews filed an opposition, and the Court heard oral
                                  16
                                       arguments on February 12, 2025. Opp’n, ECF No. 60; ECF No. 64.
                                  17
                                                For the reasons stated below, the Court DENIES Tesla’s motion for an emergency TRO.
                                  18
                                       I.       BACKGROUND
                                  19
                                                Matthews designs, develops, and manufactures continuous process machinery for battery
                                  20
                                       electrode manufacturing equipment, including solutions for the manufacture of battery electrodes
                                  21
                                       from dry powder. DBE manufacturing solutions streamline the production of lithium-ion batteries
                                  22
                                       and reduce the cost of EVs. Tesla hired Matthews approximately five years ago to design
                                  23
                                       equipment for Tesla’s DBE process to Tesla’s specifications. Tesla essentially alleges that
                                  24
                                       Matthews breached the parties’ contract and misappropriated Tesla’s trade secrets by selling DBE
                                  25

                                  26   1
                                         The Court’s use of “selling” includes marketing, demonstrating, delivering, and negotiating
                                  27   specifications.
                                       2
                                         The Court’s use of “technology” includes the DBE process and manufacturing of DBE solutions.
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                                   1   solutions that incorporated Tesla’s specifications and by filing a patent application containing

                                   2   Tesla’s trade secrets. 3

                                   3           The following events are relevant to Tesla’s present motion.

                                   4           A.

                                   5           Before Tesla filed its complaint, and after the parties could not informally resolve Tesla’s

                                   6   allegations, Matthews filed

                                   7

                                   8

                                   9                                                                      The Court will refer to these

                                  10   proceedings as the “                 .”

                                  11

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                                  13                              .3

                                  14           B.      District Court Proceedings

                                  15           On June 14, 2024,                                                                               ,

                                  16   Tesla filed its claims here based on essentially the same conduct subject to                        .

                                  17   The Court granted Matthews’s motion to compel arbitration on October 9, 2024, finding that the

                                  18   arbitration clause in the GTCs was valid and enforceable but reserving the determination of

                                  19   whether Tesla’s claims fell under its scope for the arbitrator, pursuant to the parties’ agreement.

                                  20   The Court stayed the case pending arbitration.3

                                  21           Tesla indicated in the hearing on Matthews’s motion to compel arbitration that it intended

                                  22   to file a motion for a preliminary injunction in the weeks following, but it did not. Instead, on

                                  23   December 3, 2024, the parties entered a global standstill agreement (“Standstill Agreement”)

                                  24

                                  25                                                     . Standstill Agreement, ECF No. 56-27.

                                  26
                                       3
                                  27    These facts are summarized from the Court’s Order granting Matthews’s motion to compel
                                       arbitration. Order Granting Mot. to Compel Arb., ECF No. 50.
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                                   1           C.

                                   2           Tesla then filed its                      on                      , pursuant to the Court’s

                                   3   October 7, 2024, Order. Second Arbitration Demand, ECF No. 59-7, at 17–23. The Court will

                                   4   refer to these proceedings as the

                                   5

                                   6                                                                           Id.

                                   7

                                   8                       Id.

                                   9

                                  10            , ECF No. 59-7, at 17–103;                                  , ECF No. 59-7, at 107.

                                  11

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                                  13           Tesla has not informed            of the need for emergency relief or contacted           to

                                  14   inquire into the status of the                         prior to, or since, filing its present motion.

                                  15           D.

                                  16           On February 5, 2025,                                                                    , issued

                                  17   an                  (“              ”).                  , ECF No. 56-28. Most relevant here,

                                  18           declared:

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24   Id. at 38 (emphasis added).

                                  25

                                  26
                                  27

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                                   1                                                                                      . Id. at 38–39. The

                                   2   Court does not have the exact                                         relied upon, but Matthews

                                   3   represents that Tesla’s alleged trade secret            Technology was “included

                                   4                                             Opp’n 16. Tesla disputed this at oral arguments.

                                   5          E.       Matthews’s Press Release
                                   6          The Standstill Agreement between Tesla and Matthews expired upon the issuance of

                                   7                            . The next day, on February 6, 2025, Matthews issued a press release

                                   8   (“the Press Release”) indicating that it prevailed in                      and that it will resume its

                                   9   DBE sales. Press Release, ECF No. 57-26.

                                  10          F.

                                  11          The same day that Matthews published the Press Release, Tesla filed

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                                  13

                                  14                                                    , ECF No. 59-7, at 111–117.

                                  15                                   . Opp’n 5.

                                  16          G.       Tesla’s Emergency TRO Motion in District Court

                                  17          On February 7, 2025,

                                  18                                    Tesla filed            emergency motion regarding the Press Release

                                  19   here. See Mot. This motion is before the Court now. Here, Tesla argues that the Press Release

                                  20   revealed Matthews’s plans to immediately resume selling DBE machinery, and Matthews’s DBE

                                  21   machinery contains “            Technology.” Tesla claims to have “IP rights” to the

                                  22   Technology and identifies four features in the technology as Tesla’s trade secrets. Id. at 2, 9.

                                  23   Accordingly, Tesla seeks to enjoin Matthews’s sale of DBE machinery containing the

                                  24   Technology.

                                  25          Pursuant to the Court’s order, Matthews filed a response. See Opp’n. Among other points,

                                  26   Matthews disputes Tesla’s purported ownership of                Technology, claims that

                                  27   already found                                                        , and argues that this dispute

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                                   1   should be heard in either of the two pending                not in this Court.

                                   2          The Court notes that Tesla did not inform Matthews of its intent to file this motion or seek

                                   3   an extension of their previous Standstill Agreement pending resolution of                                .

                                   4   II.    LEGAL STANDARD
                                   5          The purpose of a temporary restraining order is to “preserv[e] the status quo and prevent[]

                                   6   irreparable harm just so long as is necessary to hold a hearing, and no longer.” Granny Goose

                                   7   Foods, Inc. v. Bhd. Of Teamsters & Auto Truck Drivers, 415 U.S. 423, 439 (1974). Any temporary

                                   8   restraining order, therefore, is a temporary measure to protect the applicant’s rights until a hearing

                                   9   can be held. A temporary restraining order is “not a preliminary adjudication on the merits but

                                  10   rather a device for preserving the status quo and preventing the irreparable loss of rights before

                                  11   judgment.” Sierra On-Line, Inc. v. Phoenix Software, Inc., 739 F.2d 1415, 1422 (9th Cir. 1984)

                                  12   (citation omitted). Under Federal Rule of Civil Procedure 65(a), an applicant is entitled to a
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                                  13   temporary restraining order upon demonstrating four factors: (1) the applicant “is likely to succeed

                                  14   on the merits”; (2) the applicant “is likely to suffer irreparable harm in the absence of preliminary

                                  15   relief”; (3) the balance of equities favors the requested preliminary relief; and (4) the “injunction is

                                  16   in the public interest.” Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008).

                                  17          District courts generally have the authority to grant temporary injunctive relief to maintain

                                  18   the status quo pending arbitration. Toyo Tire Holdings of Ams. Inc. v. Continental Tire N.A., Inc.,

                                  19   609 F.3d 975, 979–82 (9th Cir. 2010). However, issuing an injunction during arbitration may be

                                  20   inappropriate, for example, when an arbitrator is authorized to grant the equivalent of the relief

                                  21   sought, or when the injunction would upend the status quo rather than preserve it. See, e.g., See

                                  22   Bennett v. Isagenix Int’l LLC, 118 F.4th 1120, 1129 (9th Cir. 2024) (“[T]he mere existence of an

                                  23   arbitration provision does not necessarily preclude a district court from awarding preliminary

                                  24   injunctive relief to preserve the status quo in advance of, and in support of, the arbitration.”);

                                  25   Capriole v. Uber Techs., Inc., 7 F.4th 854, 871 (9th Cir. 2021) (“Likewise, because Plaintiffs’

                                  26   request for injunctive relief regarding their classification was properly a matter for the arbitrator,

                                  27   the district court did not err by declining to reach the merits of Plaintiffs’ request for a preliminary

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                                   1   injunction under [Winter].”); Toyo, 609 F.3d at 979–82 (“[A] district court may issue interim

                                   2   injunctive relief on arbitrable claims if interim relief is necessary to preserve the status quo and the

                                   3   meaningfulness of the arbitration process—provided, of course, that the requirements for granting

                                   4   injunctive relief are otherwise satisfied.”); Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 726 (9th Cir.

                                   5   1999) (“Because the district court correctly concluded that all of Simula’s claims were arbitrable

                                   6   and the ICC arbitral tribunal is authorized to grant the equivalent of an injunction pendente lite, it

                                   7   would have been inappropriate for the district court to grant preliminary injunctive relief.”).

                                   8   III.       DISCUSSION
                                   9              The Court finds that this is not the proper forum to litigate Tesla’s emergency motion for a

                                  10   TRO. Tesla and Matthews are currently opposing parties in two                          proceedings

                                  11   arising out of the same or similar conduct.                    are authorized to grant the emergency

                                  12   relief requested here, and issuing an order now in this Court that may conflict with or disturb these
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                                  13                 proceedings would upend the status quo rather than preserve it.

                                  14              As an initial matter, Tesla’s proposed TRO would likely be duplicative of, or contrary to,

                                  15   the                   currently in place. The                 essentially

                                  16                                                                                       . Tesla argues

                                  17   that the            Technology in Matthews’s DBE equipment is Tesla’s IP. If this is correct, which

                                  18   Matthews disputes, then Tesla conceded during oral arguments that it believes Matthews’s sale of

                                  19   the             Technology would violate the                  . When asked by the Court, Tesla could

                                  20   not articulate the remedies generally available when a party violates an                  in an

                                  21   ongoing             proceeding; but the Court recognizes options include raising the violation with

                                  22                still overseeing                     for appropriate sanctions, or seeking confirmation

                                  23   and enforcement4 of the                                    —instead of an emergency motion in this

                                  24   Court for a TRO to enjoin the very same conduct based on a different trade secret

                                  25   misappropriation legal theory.5 See, e.g.,

                                  26
                                       4
                                  27     Tesla has decidedly not attempted to confirm or enforce the                 in its motion.
                                       5
                                        The underlying legal theory is irrelevant to whether the conduct at issue has already been
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                                                                                                6
                                   1                                                                ; 9 U.S.C § 9 (providing procedures for

                                   2   confirmation and enforcement of arbitration awards). On the other hand, if Matthews is correct

                                   3   that

                                   4             , then an order restricting Matthews’s ability to sell or disclose this technology would

                                   5   likely conflict with the               , interfere with the parties’ agreement to             and upend

                                   6   the current status quo preserved by the                  .7

                                   7          However, if somehow the              Technology is neither covered by the

                                   8   nor intentionally excluded from it, then the appropriate forum for Tesla’s request would be

                                   9                       . There, Tesla has already submitted

                                  10

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                                  13   Should Tesla require an expedited                process on an emergency basis, as it has argued

                                  14   the circumstances warrant,          has emergency relief procedures available to Tesla. See, e.g.,

                                  15

                                  16

                                  17

                                  18
                                  19                                                 Indeed, Tesla has used              expedited and

                                  20   emergency procedures for                                                 .8 Tesla did not attempt to

                                  21

                                  22   estopped by the                   .
                                       6
                                         The Court sua sponte takes judicial notice of the publicly available
                                  23   pursuant to Fed. R. Evid. 201(c)(1).
                                       7
                                         The Court does not find that the parties’ standstill agreement constituted the “status quo.” The
                                  24                     terminated the two-month agreement                                   and is now the
                                       status quo. See                    2, 7–8.
                                       8
                                  25     First, Tesla filed

                                  26                                      .                                   ECF No. 37-4, at 53–55.
                                       Second, the day before filing this motion, Tesla filed
                                  27
                                                                   ECF No. 59-7, at 111–117.                                                  .
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                                   1   initiate emergency procedures in this instance. Tesla also highlights the only issue that will be

                                   2   before                 currently is                                              . Even so, the Court

                                   3   sees no reason why this would restrict                   authority to enter the interim emergency

                                   4   injunction sought here pending resolution of                                     . See, e.g.,

                                   5

                                   6

                                   7            In summary, Tesla is currently engaged in two              proceedings regarding the same

                                   8   or similar alleged conduct committed by Matthews. One proceeding examines

                                   9                                           and has issued an                which, according to Tesla,

                                  10   already protects the           Technology, and according to Matthews, permits its sale of the

                                  11             Technology. The other proceeding,

                                  12                                               is set to begin imminently. In the context of this
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                                  13   landscape, the Court finds that issuing Tesla’s proposed TRO here would not “preserve the status

                                  14   quo and the meaningfulness of the arbitration process”—it would needlessly interfere with already

                                  15   expedited              proceedings and upend the status quo preserved by the                     . Toyo,

                                  16   609 F.3d at 979–82. Accordingly, the Court need not examine the Winter factors and DENIES

                                  17   Tesla’s motion. See Capriole, 7 F.4th at 871.

                                  18   IV.      CONCLUSION
                                  19            Based on the foregoing, the Court DENIES Tesla’s motion for an emergency TRO. This

                                  20   case remains stayed.

                                  21            IT IS SO ORDERED.

                                  22   Dated: February 14, 2025

                                  23

                                  24
                                                                                                     EDWARD J. DAVILA
                                  25                                                                 United States District Judge
                                  26
                                  27

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